                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION



JOSHUA JARRETT, JESSICA JARRETT

                   Plaintiffs,                 Case No. 3:21-cv-00419

             v.                                District Judge William L. Campbell Jr.

UNITED STATES OF AMERICA,                      Magistrate Judge Alistair E. Newbern

                   Defendant.




                       MOTION FOR ORAL ARGUMENT

      Plaintiffs Joshua Jarrett and Jessica Jarrett, by and through their

undersigned counsel, hereby move the Court for oral argument on the government’s

motion to dismiss. The government does not object to the Jarretts’ request for oral

argument.

      The Jarretts believe oral argument is particularly appropriate here, as the

government’s memorandum in support of its motion to dismiss (Dkt. 42) does not

discuss Campbell-Ewald Co. v. Gomez, 577 U.S. 153 (2016), a case that the Jarretts

believe mandates denial of the government’s motion. The Jarretts request an

opportunity to respond to arguments raised by the government in its reply,

particularly those arguments with respect to Campbell-Ewald.




   Case 3:21-cv-00419 Document 52 Filed 03/14/22 Page 1 of 3 PageID #: 660
                                     Respectfully submitted,

                                     CONSOVOY MCCARTHY PLLC
                                     Cameron T. Norris
                                     Jeffrey M. Harris
                                     1600 Wilson Boulevard, Suite 700
                                     Arlington, VA 22209
                                     Telephone:    703.243.9423

                                     FENWICK & WEST LLP
                                     /s/ David L. Forst
                                     David L. Forst
                                     Sean P. McElroy
                                     Silicon Valley Center
                                     801 California Street
                                     Mountain View, CA 94041
                                     Telephone: 650.988.8500
                                     Facsimile: 650.938.5200

                                     J. Abraham Sutherland
                                     104 Prospect Street
                                     Black Mountain, NC 28711
                                     Telephone: 805.689.4577

                                     DATED:       March 14, 2022


                                     Attorneys for Plaintiffs




                                 2
Case 3:21-cv-00419 Document 52 Filed 03/14/22 Page 2 of 3 PageID #: 661
                          CERTIFICATE OF SERVICE


      I hereby certify that on March 14, 2022, I electronically filed the foregoing

Motion for Oral Argument with the Clerk of Court using the CM/ECF system, which

sent notification to Defendant’s Counsel:


      Ryan O'Connor McMonagle
      Stephen S. Ho
      U.S. Department of Justice, Tax Division
      PO Box 227
      Washington, DC 20044
      Ryan.McMonagle@usdoj.gov
      Stephen.S.Ho@usdoj.gov



 Dated: March 14, 2022

                                        /s/ David L. Forst




                                    3
   Case 3:21-cv-00419 Document 52 Filed 03/14/22 Page 3 of 3 PageID #: 662
